Case 1:21-cv-24324-DPG Document 1-8 Entered on FLSD Docket 12/14/2021 Page 1 of 5




                       EXHIBIT “E”
     Case 1:21-cv-24324-DPG Document 1-8 Entered on FLSD Docket 12/14/2021 Page 2 of 5




----- Forwarded Message -----
From: Patrick Orlando <porlando@benesserecapital.com>
To: Eric Swider <es@renatusadvisors.com>
Cc: Brian C. Shevland <shevland@yahoo.com>
Sent: Tuesday, February 2, 2021, 03:57:07 PM GMT-4
Subject: Re: see

Revised doc, comments?


Best Regards,
Patrick Orlando - Founder and CEO




Notice - The information contained in this email is confidential and is for use only by the intended recipient. If you are not the intended
recipient, you must not disclose or use the information in this email in any way. If you received it in error, please advise us immediately
by return email and delete the document.


On Sun, Jan 31, 2021 at 6:09 PM Patrick Orlando <porlando@benesserecapital.com> wrote:
 Going to review tonight.

 Patrick


           On Jan 31, 2021, at 4:30 PM, Eric Swider <es@renatusadvisors.com> wrote:


                                                                     1
Case 1:21-cv-24324-DPG Document 1-8 Entered on FLSD Docket 12/14/2021 Page 3 of 5
   Gents;



   Please see the attached. This is my internal version approved by no other party.



       1. I feel like we are slipping further from a really good opportunity to work together in a
            truly open fashion that can create a lot of upside together
       2. I think it is important we start to focus on the future and on what we can accomplish.
       3. I think it is important to remember where we were 8 weeks ago when we all agreed to
            the general terms. I also think it is important to remember it was agreed to let Brian
            have the terms agreed upon for the first SPAC with the condition we work to seek a
            larger objective together. In my eyes we have and are continuing to explore that path.
            The longer we delay and make contingent the first opportunity is the more challenging
            the matter becomes.



   With Kind Regards;




   <image001.png>




       Eric Swider

       Partner

       es@renatusadvisors.com

       787.425.9010




   If there is any problem with this communication, please call me immediately at (787) 425-9010.




   CONFIDENTIALITY NOTE: This electronic transmission contains information belonging to the Sender
   which may be confidential or legally privileged. The information is intended only for the use of the
   individual or entity named above. If you are not the intended recipient, you are hereby notified that any
   disclosure, copying, distribution or the taking of any action in reliance on the contents of such information
   is strictly prohibited. If you have received this transmission in error, please notify us immediately by
   telephone (787) 425-9010 or return e-mail. Thank you.

                                                        2
Case 1:21-cv-24324-DPG Document 1-8 Entered on FLSD Docket 12/14/2021 Page 4 of 5




   <LOI for PO BS ES[1].docx>




                                        3
Case 1:21-cv-24324-DPG Document 1-8 Entered on FLSD Docket 12/14/2021 Page 5 of 5




  January 28th, 2021

  CONFIDENTIAL

  Patrick Orlando
  Eric Swider
  Brian Shevland

          Re:       Business Opportunities/Synergies

         This document outlines potential business efforts. I think all below goes hand in hand and should
  be executed together.

          1.       Launch of Investment Banking Activity:
                a. Option 1: Patrick and Eric to partner with Brian to launch investment banking desk
                   for/clear through Bluestone CM/MCG? Patrick and Eric to be registered reps of Bluestone
                   CM or MCG. Group split on revenue with preferred group split to cover desk/house costs.
                   Desk will focus on M&A, SPAC activity non-underwritten, IPO non-underwritten, capital
                   raising activities, Secondaries non-underwritten as well as launching a PE type fund
                   business, and advisory services.
                b. Option 2: Patrick to run investment banking efforts for/clear through Bluestone CM/MCG.
                   Patrick to be registered rep of Bluestone CM or MCG with 80/20 split on revenue with
                   potential agreement to split as a group? Desk to focus on M&A, SPAC activity non-
                   underwritten, IPO non-underwritten, capital raising activities, Secondaries non-
                   underwritten. Eric will also be partner with Brian working on fund business and advisory
                   business which will in turn partner with Patrick’s IB desk.

           2.       Share Purchase in BCAC and subsequent SPAC: Brian to invest $300K (amount TBD)
  in BCAC. Balance of delta; Parties will work together to find a solution to allow Brian to make additional
  preferred investment in similar or related SPAC/Opportunity.
           3.       Brian Director in BCAC: Brian to become director in BCAC. Bluestone to act as advisor
  to BCAC
           4.       Subsequent SPAC: Brian and Patrick will move to immediately embark on launching 2-
  5 SPACs over next 3 years, first a new SPAC to raise $100-$200MM, subsequent SPAC sizes TBD. In
  these SPAC, Brian and Patrick will be parri passu equal weighted co-sponsors; in that the two parties will
  have the opportunity to invest equal amounts at equal terms but will not be required to meet those
  thresholds. Eric will be given 60-day option to invest a minority position at a preferred rate TBD and will
  serve as a senior officer of the SPAC. Under point number 2 above; if alternative solution is not discovered;
  Brian shall have the right to a preferred economic position in the new SPAC TBD during formation.




                                                      1
                                                  Confidential
